                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

 JOHN DOE 1, et al.                            )
                                               )
               Plaintiffs,                     )
                                               )
         v.                                    ) Case No. 25-300
                                               )
 U.S. OFFICE OF THE DIRECTOR OF                )
 NATIONAL INTELLIGENCE, et al.                 )
                                               )
               Defendants.                     )

                 DECLARATION OF JOHN 1 DOE IN SUPPORT OF
                MOTION FOR A TEMPORARY RESTRAINING ORDER

       I, John Doe 1, am an adult over the age of eighteen and understand the meaning of an oath.

I state the following under penalty of perjury pursuant to 28 U.S.C. § 1746:

       1.      I am a nonpartisan civil servant and have served a U.S. Central Intelligence Agency

(“CIA”) officer for fifteen years. I hold the grade of GS-15, work in the executive staff office

career service, have served overseas, and received numerous awards and commendations.

       2.      CIA temporarily assigned me to carry out duties of implementing federal civil rights

laws, fulfilling a perceived need of promoting diversity, equity, inclusion and accessibility

(“DEIA”) in the Agency’s workplace.

       3.      My duties included advancing the hiring, retention and advancement of members

of protected classes under civil rights laws applicable to the federal government as an employer

under Title VII of the Civil Rights Act of 1964, the Age Discrimination in Employment Act and

the Rehabilitation Act of 1973 and the Americans with Disabilities Act of 1990.

       4.      I am unaware of any allegation against me of misconduct or poor performance.
       5.      On January 22, 2025 CIA verbally placed me and all of my office colleagues on

administrative leave, apparently only because of our temporary assignment to a personnel function

involving DEIA. On February 14, 2025 I received a telephone call from a human resources officer

ordering me report to the visitors’ center of a CIA facility within the Eastern District Virginia with

my Intelligence Community (“IC”) access badge, as early February 18, 2025. I understand that a

similarly-situated CIA colleague reportedly was told by her employer that she may not bring

counsel to a similar meeting.

       6.      In my experience, when a CIA officer is told to report to the visitors’ center of an

Agency facility with their IC badge, it presages negative employment action against the officer,

including but not limited to termination or being placed on involuntary leave without pay.

       7.      I work inside a Special Compartmented Information Facilities on government

computer and telephone systems specially designed to handle classified information. I may not,

without CIA’s permission, bring a paper copy of my own personnel file out of my workspace.

       8.      Upon information and belief, CIA officers have no recourse to the Merit System

Protection Board (MSPB). In my experience, CIA regulations do however provide procedures for

terminating officers for misconduct, poor performance or unsuitability, which include officers’

rights of notice, to be heard and to appeal adverse decisions.

       9.      CIA has specific national security reasons to value diversity for and within its

enterprise workforce to further its mission effectiveness. The Agency needs staff officers,

including from various directorates within the Agency, with the ability to blend in racially and

culturally with foreign populations; by way of example, there is a need for the capability to meet

in private with female sources in cultures in which unmarried adults of the opposite sex rarely

meet in private. There are needs for dual citizenship documentation, foreign language skills and/or



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overseas living experiences, amongst a myriad of other mission requirements and objectives.

Recruiting, developing and retaining a diverse Intelligence Community workforce is therefore a

critical and material national security imperative.

Dated: February 17, 2025



                                              /s/ John Doe 1
                                              John Doe 1
                                              Officer
                                              U.S. Central Intelligence Agency




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